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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES -- GENERAL

Case No.     CV 18-3325-MWF(ASx)                                        Dated: May 29, 2019

Title:       Amazon Content Services, LLC, et al. -v- Set Broadcast, LLC, et al.

PRESENT: HONORABLE MICHAEL W. FITZGERALD, U.S. DISTRICT JUDGE

             Rita Sanchez                                 None Present
             Courtroom Deputy                             Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                  ATTORNEYS PRESENT FOR DEFENDANTS:

             None Present                                None Present

PROCEEDINGS (IN CHAMBERS):                   ORDER TO SHOW CAUSE RE DEFAULT
                                             JUDGMENT AS TO SET BROADCAST, LLC

       In light of the Default By Clerk [49] entered on May 28, 2019, the Court sets a hearing
for Order To Show Cause Re Default Judgment for July 1, 2019 at 11:30 a.m. If a Motion
for Default Judgment is filed prior to this hearing, the hearing on the Order To Show Cause
will be discharged, and no appearance will be necessary.

     Any Motion for default judgment must comply with the Court's Procedures and
Schedules. See http://www.cacd.uscourts.gov/honorable-michael-w-fitzgerald.

         IT IS SO ORDERED.




MINUTES FORM 90                                                            Initials of Deputy Clerk   rs
CIVIL - GEN
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